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                      ATTACHMENT 1
        THE UNITED STATES’ PROPOSED ORDER
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                         MDL No. 2724
 PRICING ANTITRUST LITIGATION                           Case No. 2:16-MD-02724

                                                        Hon. Cynthia M. Rufe
 THIS DOCUMENT RELATES TO:

 ALL ACTIONS


                      [PROPOSED] PRETRIAL ORDER NO. ___
                  (ALLOWING WRITTEN DISCOVERY TO PROCEED;
                         LIMITED STAY OF DEPOSITIONS)

       AND NOW, this ____ day of _______2021, it is hereby ORDERED that the stipulation

is APPROVED as follows:

       1.      The terms outlined below shall apply until November 30, 2021.

       2.      Initial disclosures remain stayed (as per PTO No. 44).

       3.      All types of written discovery, including requests for production of documents,

interrogatories, and requests for admissions, may be served.

       4.      Depositions of individuals on a list that the U.S. Department of Justice provided

to counsel for the parties and the court on August 27, 2021 are stayed.

       5.      Other than the limitations imposed in Paragraph 4, the requirements and

limitations imposed by the Fact Deposition Protocol (PTO No. 158) and the Remote Deposition

Protocol (PTO No. 159), and as otherwise ordered by the Court, the parties may notice

depositions and shall meet and confer as necessary to schedule depositions.

       6.      The parties shall serve any written discovery requests and notices of deposition

simultaneously on the parties and the U.S. Department of Justice. If the United States objects to

any proposed written discovery request or notice of deposition, the United States will notify the

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party of the basis for the objection, and if necessary, bring that objection to the Special Master

for resolution pursuant to the Revised Special Masters’ Protocol (PTO No. 163). The proposed

discovery shall be stayed pending resolution.

        7.       Parties may not seek, and no person may respond to, discovery that specifically

relates to how or what information was subpoenaed or communicated by—or provided or

produced to—the Department of Justice as part of its criminal investigation into the generic

pharmaceuticals industry, including in response to any grand jury subpoena or as part of a

person’s cooperation obligations with the Department of Justice.

        8.       A person responding to a discovery request in this MDL (e.g., subpoena, request

for production of documents, notice of deposition) (“Responding Person”) shall not disclose in

such response what documents or other information have been provided to the Department of

Justice in the course of its criminal investigation into the generic pharmaceuticals industry,

provided that nothing in this paragraph requires any modification of any document control

number or other endorsement on a document, nor prohibits or excuses a Responding Person from

providing documents or other information that previously had been provided to the Department

of Justice.

        9.       For the sake of clarity:

              a. All parties reserve their rights to object to the admissibility of testimony or other

                 evidence on any grounds;

              b. This Order does not waive the right of responding parties or witnesses not to

                 answer questions, or to be instructed by counsel not to answer questions, based on

                 the attorney-client privilege, attorney work product doctrine, or any other

                 applicable privilege; and



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             c. Plaintiffs and Defendants reserve all rights, and this Order does not preclude

                arguments or motions by Plaintiffs or Defendants with respect to the admissibility

                of any testimony or documents at trial.

       10.      Nothing in this Order precludes a party or subpoenaed party from objecting to,

moving to quash, or seeking a protective order excusing a response to any discovery request,

including filing a motion to extend the stay of any depositions beyond November 30, 2021,

provided the objection is made in good faith.

       It is so ORDERED.

                                                      BY THE COURT

                                                      _____________________________
                                                      CYNTHIA M. RUFE, J.




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